
38 N.Y.2d 933 (1976)
National Compactor &amp; Technology Systems, Inc., Respondent,
v.
Kohleriter &amp; Spandorf, Appellant. (And Another Title.)
Court of Appeals of the State of New York.
Submitted January 16, 1976.
Decided February 26, 1976.
Solomon M. Cheser and Leslie Kirsch for appellant.
William L. Maher and Gerald W. Jarrett for respondent.
Concur: Chief Judge BREITEL and Judges JASEN, GABRIELLI, JONES, WACHTLER, FUCHSBERG and COOKE.
Order reversed, with costs, the question certified answered in the negative, and the case remitted, pursuant to CPLR 5613, to the Appellate Division, Second Department, for the exercise of that court's discretion. Pleadings should be liberally construed, particularly in the case of claims over. A defendant seeking to claim over should not be obliged to anticipate what the proof will be in every detail under the pleading by the plaintiff pursued against that defendant.
